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                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

City Of Chicago
                                          Plaintiff,
v.                                                         Case No.: 1:14−cv−04361
                                                           Honorable Jorge L. Alonso
Janssen Pharmaceuticals Inc., et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 21, 2017:


       MINUTE entry before the Honorable Young B. Kim: Motion hearing held. For the
reasons stated in open court, Plaintiff's motion to compel [586] is granted. The motion is
granted only to the extent that for the opioid products at issue in this litigation that the
FDA approved or Defendants acquired prior to January 1, 2004, the time period for
responding to Plaintiffs discovery requests for marketing plan documents,
communications related to marketing plans, sales training materials, and marketing
materials shall start on January 1, 2004. Defendants must also provide their products'
launch plans and communications relating to the launch plans. For the opioid products that
the FDA approved or Defendants acquired after January 1, 2004, the time period for
responding to Plaintiffs discovery requests for marketing plan documents,
communications related to marketing plans, sales training materials, and marketing
materials shall start one year prior to the product9;s approval or acquisition date.
Defendants (including Endo to the extent that it has agreed to produce documents), shall
have until October 23, 2017, to comply with this order. A status hearing is scheduled for
October 23, 2017, at 2:00 p.m. by phone for an update on written discovery. The
conference call number for the status hearing is (877) 336−1839 and the passcode is
4333213. Mailed notice (ma,)




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